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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



CONRAD SMITH, et. al.,             )
                                   )
                 Plaintiffs,       )
                                   )
  v.                               )
                                   )   Civil Case No. 21-2265
DONALD J. TRUMP, et al.,           )
                                   )
                 Defendants.       )
                                   )
                                   )


       DEFENDANTS DONALD J. TRUMP AND DONALD J. TRUMP FOR
       PRESIDENT INC.’S MEMORANDUM IN SUPPORT OF THEIR
                          MOTION TO DISMISS




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         * Asterisks denotes authorities upon which Defendants principally rely.




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      Plaintiffs’ lawsuit suffers the same fatal deficiencies as a nearly identical one

already pending in this Court against President Trump by fellow Capitol Police

Officers. 1 Plaintiffs’ Complaint relies upon cherry-picked statements intended to

mischaracterize political speech to alleged unlawful conspiracy. Plaintiffs’ Complaint

is plagued with an inability to differentiate a speaker’s words and intent from the

interpretation of such speech by its hearers. And Plaintiffs simply ignore the absolute

immunity provided by the Constitution to certain critical government officials —

including U.S. Presidents from any and all political parties, even President Trump.

      Indeed, Plaintiffs have an even weaker claim against President Trump than

the Blassingame Plaintiffs. Unlike in Blassingame, this lawsuit was filed after

multiple official government reports were issued finding scant evidence the January

6 Capitol protests were coordinated in any fashion.

      When determining whether a presidential act is covered by absolute immunity,

the Supreme Court has been clear: the appropriate question is only whether it is

within the “outer perimeter” of the President’s duties. In making this analysis, the

Court has determined only the nature of the presidential act is subject to review;

content-based determinations of motives underlying that act must be eschewed. Here,

the result is simple: it is a normal activity of a President to speak to Americans in

support of, or opposition to, congressional action. Courts are forbidden from inquiring

into the motives behind such political speech and from setting regulations on the




      1   See James Blassingame, et al. v. Donald J. Trump, Case No. 1:21-cv-00858.
                                              1
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content of that speech. Consequently, the Constitution’s absolute immunity doctrine

protects President Trump from this lawsuit.

       Plaintiffs should be commended for their years of service and dedication to

serving as Capitol Police Officers. As President Trump has repeated many times,

attacks against law enforcement officials are unacceptable. Yet here, Plaintiffs are

seeking to expand the scope of liability for the violent actions of third parties to cover

individuals whose words allegedly inspired their actions, which is in direct opposition

to our nation’s First Amendment jurisprudence. But liability rightfully lies only with

those individuals who chose to engage in violence, and Plaintiffs have ample

opportunity to obtain relief against the specific individuals actually responsible for

their injuries.

                                    BACKGROUND

       Donald J. Trump, the 45th President of the United States, is known for his

patriotic and inspiring speeches that particularly resonate with those who feel

forgotten by Washington D.C.’s political establishment. His speeches draw immense

crowds throughout the country, but also bring scorn from political adversaries and

most of the corporate news media. Following the 2020 election, President Trump

(among numerous others) raised critical questions about the results of elections in

several States. In the weeks and months after the election, the President and his

supporters were engaged in litigation, recounts, and appeals.

       Post-election challenges are common and are made by candidates of both

political parties. For example, Ms. Rita Hart, a candidate for the U.S. House of

Representatives from Iowa’s 2nd Congressional District, contested the results of her
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narrow loss for five months after the 2020 election.2 Ms. Hart’s petition for the U.S.

House of Representatives to overturn the results of her district’s election followed a

fully certified election and a recount under Iowa State law. This is much different[1]

than President Trump’s election challenges, which took place while he and his team

were litigating and challenging results that were not yet certified.

      There is ample historical precedent for challenging the certification of electors.

Democratic members of Congress challenged the certification of electors after the

2000, 2004, and 2016 elections. In 2000, Representatives Maxine Waters and Barbara

Lee objected to counting Florida’s electoral votes. See 147 Cong. Rec. H35 (daily ed.

Jan. 6, 2001) (statements of Reps. Waters and Lee). In 2004, Representatives Barbara

Lee and Jerrold Nadler objected to counting electoral votes from Ohio and voted to

object to certification of Ohio’s certified electors. See 151 Cong. Rec. H110 (daily ed.

Jan. 6, 2005) (statement by Rep. Lee); 151 Cong. Rec. H110–11 (daily ed. Jan. 6, 2005)

(statements by Reps. Nadler and Lee regarding alleged voting irregularities). And in

2016, Democratic representatives challenged nine States’ electoral votes—more than

Republicans challenged after the 2020 election. See 163 Cong. Rec. H186–87, 189

(daily ed. Jan. 6, 2017) (statements of Reps. Jayapal, Lee, and Waters).

      Presidents are expected to take advantage of the bully pulpit. As our nation’s

chief executive, presidents routinely comment on election results and petition

Congress to act (or refrain from acting) in various ways. After the 2020 election,



2 1 Sarah Ferris & Ally Mutnick, Democrat drops election contest in Iowa house race,

POLITICO (Mar. 31, 2021), https://www.politico.com/news/2021/03/31/democrat-
drops-election-contest-in-iowa-house-race-478736.
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President Trump believed that there had been a failure to secure our nation’s election

procedures, and he made this sentiment known. As part of his constitutional duty to

ensure that the laws be faithfully executed, President Trump tried to inspire

Congress to postpone certifying election results until the various lawsuits challenging

those results were concluded. Unlike Plaintiffs' characterization, the rally at the

Ellipse was not an attempt to inspire a riot to interfere with Congress—it was a

gathering of individuals who believed state executive branches had violated the

Constitution by changing election procedures under assumed emergency powers

when that power belongs only to state legislatures and who wanted Congress to

understand the gravity of the violations and vote accordingly. See U.S. Const. art. I,

§ 4.

       Plaintiffs allege that President Trump’s speech, which expressed his strongly

held belief in the insecurity of an election conducted through hastily implemented

mail-in voting procedures, amounted to the dissemination of fraudulent claims about

election integrity that were intended to incite others. See Compl. ¶¶ 48–50. Yet, as

Plaintiffs should know, the content of speech is not something courts have authority

to adjudicate. Moreover, it is not the effect on or subsequent actions of the listeners

that is relevant to a court's inquiry. See Brandenburg v. Ohio, 395 U.S. 444, 449

(1969).

       Plaintiffs further allege that President Trump’s statements and lawsuits

challenging election results were intended to delegitimize the election and cause his

followers to be angry and violently prevent anyone else assuming the presidential



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office in the event he lost the election. Compl., ¶¶ 52, 62. To support this claim,

Plaintiffs allege President Trump knew some of his supporters were advocating for

violence. Id. at ¶ 56.

       This imputation of knowledge and liability, however, is not in line with our

nation’s First Amendment jurisprudence—our legal standard has consistently

required intent on the part of the speaker to incur liability. See Morse v. Frederick,

551 U.S. 393, 442–43 (2007) (Stevens, J., dissenting) (quoting Thomas v. Collins, 323

U.S. 516, 535 (1945)); Ashcroft v. Free Speech Coal., 535 U.S. 234, 253 (2002).

Moreover, individuals need not disavow misinterpretations of their speech by others

to shield themselves from liability, as Plaintiffs’ argument seems to insinuate. See

Bradenburg v. Ohio, 395 U.S. 444, 447-48 (1969) (drawing the distinction between

third party actions subsequent his speech a proponent can and cannot be held

responsible); Noto v. United States, 367 U.S. 290, 297 (1961) (pointing to the

“distinction between the statement of an idea which may prompt its hearer to take

unlawful action, and advocacy that such action be taken.”) (internal citations

omitted); Compl., ¶ 58.

       Following Plaintiffs’ theory of liability would drastically chill political speech

because public officials and candidates for public office could be held legally

accountable if their supporters misinterpret their passionate or fiery rhetoric and

decide to carry out acts of violence or other illegal activity.

       Falling into the same cherry-picking behavior as in Blassingame, Plaintiffs

here allege President Trump intimidated and threatened state and local election



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officials by merely retweeting a statement made by one of his many lawyers stating

that those officials would “soon be going to jail.” Id. at ¶ 67. Plaintiffs also try to paint

the President’s challenge to the election results as racist, even though state

procedures were the target of the President’s discontent and not individual cities or

persons as Plaintiffs insinuate. Id. at ¶ 65.

       Further, numerous allegations have no factual basis whatsoever, such as the

claim that President Trump “openly threatened violence” by posting tweets

“suggest[ing] his supporters would revolt and resort to violence if he lost the election.”

Id. at ¶ 68. The statements Plaintiffs use to support their allegation are President

Trump saying this is “a very dangerous moment in our history” and people are “not

going to stand having this Election stolen from them.” Id.

       Under no stretch of the imagination can those statements be characterized as

open threats      of violence. Because Plaintiffs' Complaint is based on a

misunderstanding of the standard for liability for protected speech, especially that of

a president when acting within the outer perimeter of his official duties, their claims

involving President Trump must be dismissed, particularly as they fail to allege any

factual basis for inferring any improper agreements between President Trump and

anyone who chose to engage in unlawful rioting.

       While President Trump is a vocal proponent of election integrity, he also is

strongly committed to public safety and law and order. Indeed, the Senate Homeland

Security and Governmental Affairs Committee released a staff report (“HSGA




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Report”) exonerating President Trump of involvement in the January 6 security

failures.3

       In pertinent parts, the HSGA Report found that President Trump had

delegated the ability to use emergency powers, a lead federal agency had been

designated to deal with the security concerns around the January 6 counting of

electoral ballots, and President Trump personally asked if the security was ready on

January 3.4 These are not the actions of a co-conspirator attempting to undermine

security, but rather the actions of a leader concerned with making sure security is

properly in place.

       Notwithstanding Plaintiffs’ actually deficient allegations and insinuations of

conspiracy, investigations by the Federal Bureau of Investigation (“FBI”) and the

Senate Homeland Security and Governmental Affairs Committee rebuffed Plaintiffs’

contentions of wrongdoing by Trump Administration officials. “The FBI has found

scant evidence the Jan. 6 attack on the U.S. Capitol was the result of an organized

plot to overturn the presidential election result.”5

                                     ARGUMENT

       Despite the Senate Homeland Security and Governmental Affairs Committee

Report finding President Trump made efforts to guarantee, not undermine, Capitol


       3 Staff  of S. Comm. on Homeland Sec. & Gov’t Affs., 117th Cong. Rep. on
Examining The U.S. Capitol Attack: A Review of the Security, Planning, And
Response Failures on January 6 (Jun. 7, 2021).
       4 Id. at 77.
       5 Mark Hosenball & Sarah N. Lynch, Exclusive: FBI finds scant evidence U.S.

Capitol      attack     was    coordinated,    REUTERS       (Aug.    20,     2021),
https://www.reuters.com/world/us/exclusive-fbi-finds-scant-evidence-us-capitol-
attack-was-coordinated-sources-2021-08-20/.
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security; an FBI report of scant evidence of any coordinated action by the rioters, let

alone with President Trump; and a Senate Impeachment Court finding President

Trump did not incite any riot, Plaintiffs still attempt to bring a nearly identical

lawsuit to one filed by their coworkers alleging President Trump is responsible for

causing the riots of January 6. See Compl. ¶ 5; Blassingame et al. v. Donald J. Trump,

Case No. 1-21-cv-00585. This lawsuit is doomed to fail for similar reasons and is even

weaker because it comes after additional reports and findings of the Senate

Committee and FBI that there is scant evidence of any coordination behind the

January 6 riot.

      Plaintiffs base their claims on out-of-context (and, indeed, sometimes provably

false) political speech and expression made by the President before, during, and after

the November 2020 election. This attempt to foist liability on the President for the

actions of individuals who were allegedly inspired to act because of his political

speech flies in the face of over a century of First Amendment jurisprudence that

requires intent on the part of the speaker for liability to attach. A holding to the

contrary would not only upset the Constitution’s separation of powers balance, but

also would irreparably harm our political system by creating an environment where

candidates for public office who spoke in typical political hyperbole would be on the

hook for tortious or criminal actions of individuals who claimed to be inspired by their

rhetoric. Such a holding would be even more concerning for the Office of the

President. As a visible and necessarily vocal public figure for our entire country, the

President would be the target of endless litigation if it were allowed.



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        The functioning of our Republic depends upon protecting the free expression of

political speech. “[I]f there is any principle of the Constitution that more imperatively

calls for attachment than any other it is the principle of free thought—not free

thought for those who agree with us but freedom for the thought that we hate.” United

States v. Schwimmer, 279 U.S. 644, 654–55 (1929) (Holmes, J. dissenting).

        In addition to the legal reasons why Plaintiffs’ case must be dismissed, there

are serious and significant prudential concerns, namely the existence of a political

question due to the judgment of the Senate Impeachment Court that acquitted the

President of incitement charges on the same facts addressed in this Complaint. The

Court should also decline to get involved in line drawing over what types of speech

are acceptable in the political realm as such questions are not susceptible to judicially

manageable standards and are necessarily reserved to the political branches. Even if

the speech in question was not cloaked with the highest presumption of First

Amendment protection, Plaintiffs’ claims are precluded by the legal doctrines of

absolute Presidential immunity, res judicata, and collateral estoppel.

   I.      The Constitution Forecloses All Of Plaintiffs’ Claims Against President
           Trump.

   a.      Absolute immunity bars Plaintiffs’ claims against President Trump

        Presidents must be decisive. When making critically important decisions, often

of historic proportions, it is imperative their discretion not be influenced, or their

actions chilled, by a fear that their presidential actions will result in civil liability—

ripening either during or after their presidential term. Consequently, courts have

long held that presidents are covered by absolute immunity, which is grounded in the


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principle of separation of powers and entrenched in precedent dating back to common

law traditions. See Mitchell v. Forsyth, 472 U.S. 511, 521 (1985); Nixon v. Fitzgerald,

457 U.S. 731, 744 (1982); 3 J. Story, Commentaries on the Constitution of the United

States § 1563, pp. 418-19 (1st ed. 1833) (reasoning that the President “must be

deemed, in civil cases at least, to possess an official inviolability.”).

       Precluding civil litigation against the President is vital to ensuring a

functioning Executive Branch—the absence of immunity would incentivize lawsuits

that would make the President hesitant to exercise his discretion “even when the

public interest required bold and unhesitating action.” Nixon, 457 U.S. at 744–45.

See also Pierson v. Ray, 386 U.S. 547, 554 (1967) (explaining that immunity serves

the public interest in preserving the independence and decisiveness necessary of

government officials). Even when a plaintiff alleges that a president’s actions exceed

his legal authority, the privilege still prohibits litigation. Otherwise, the rule would

be swallowed whole by the exceptions; litigation would constantly test whether a

particular “action was unlawful[] or was taken for a forbidden purpose.” Nixon, 457

U.S. at 756.

       The dominant concern motivating the Court’s reasoning regarding immunity

is the possibility of “distortion of the Executive’s ‘decision[-]making process ’with

respect to official acts that would stem from ‘worry as to the possibility of damages.’”

Trump v. Vance, 140 S. Ct. 2412, 2426 (2020). For this reason, the defense of

immunity extends beyond traditional actions at common law to civil cases for

monetary damages. See Tenney v. Brandhove, 341 U.S. 367, 376 (1951) (holding that



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despite not explicitly providing the defense of immunity, 42 U.S.C. § 1983 does not

abrogate the defense, which is “so well grounded in history and reason”).

      Presidential immunity also extends to suits seeking declaratory and injunctive

relief. See Franklin v. Massachusetts, 505 U.S. 788, 827 (1992) (Scalia, J., concurring)

(explaining that the Court’s reasoning in Nixon “appl[ies] with equal, if not greater,

force to requests for declaratory or injunctive relief in official-capacity suits that

challenge the President’s performance of executive functions”). Claims attempting to

hold the President civilly liable for a speech, rally, or petitioning activity would

irreparably distort his decision-making process in a way that the Court recognizes is

unacceptable and unconstitutional.

      On the same day the Supreme Court decided that a president has absolute

immunity, the Court drew a distinction between the persons entitled to such absolute

immunity and those only entitled to a lesser form of immunity. See Harlow v.

Fitzgerald, 457 U.S. 800, 807 (1982). In Harlow, the Supreme Court distinguished

between ordinary Executive Branch officials who would be entitled to qualified

immunity from those who are entitled to the higher protection of absolute immunity.

Harlow, 457 U.S. at 807 (“[O]ur cases make plain that qualified immunity represents

the norm.”). As the Supreme Court clearly explained, “government officials

performing discretionary functions generally are shielded from liability for civil

damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Id. at 817–18.




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      The Court has also held that evidence of a defendant’s subjective intent is

irrelevant. See Crawford-El v. Britton, 523 U.S. 574, 588 (1998) (“[The] defense of

qualified immunity may not be rebutted by evidence that the defendant’s conduct was

malicious   or   otherwise   improperly   motivated.”).   “[J]udgments    surrounding

discretionary action almost inevitably are influenced by the decisionmaker’s

experiences, values, and emotions” and allowing subjective intent would result in no

clear standard for relevant evidence. Harlow, 457 U.S. at 816.

      Here, President Trump was engaged in discretionary action pursuant to his

constitutional duty to ensure that the laws were faithfully executed by petitioning

Congress not to certify the electors from States with ongoing election challenges. As

such, he is entitled to immunity because his speech did not violate any clearly

established legal duties. Based on the logic of Harlow, the President is entitled to

absolute immunity. The Court has continuously reaffirmed the purpose of executive

and legislative immunities to allow officials to carry out their functions without fear

of civil retribution for legitimate acts. See Nixon, 457 U.S. at 749, Tenney v.

Brandhove, 341 U.S. 367, 376 (1951) (“Legislators are immune from deterrents to the

uninhibited discharge of their legislative duty, not for their private indulgence but

for the public good.”); Imbler v. Pachtman, 424 U.S. 409, 423 (1976) (holding that

absolute immunity existed for a federal prosecutor to prevent distraction from his

public duties or improper consideration in the exercise of his independent judgment).

      To hold that the President is in some actions protected by absolute immunity

and in others protected by qualified immunity would unnecessarily burden the Office



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of the President with different liabilities at different times. This would be

inconsistent with the rationale for extending the immunity in the first place.

      Further, such liability would be inapposite to the protection offered to

legislators for the exact same reasons. In Brandhove, the Court held that the

“privilege would be of little value if [a protected person] could be subjected to the cost

and inconvenience and distraction of a trial upon the conclusion of the pleader, or to

the hazard of a judgment against them based upon a jury’s speculation as to motives.”

Brandhove, 341 U.S. at 377. The Court determined that “Courts are not the place for

such controversies[,]” but rather “self-discipline and the voters must be the ultimate

reliance for discouraging or correcting such abuses.” Id. at 378.

      In Brandhove, the Court limited its rationale to the facts before it, which were

that the plaintiff alleged that a state legislator violated an individual’s constitutional

right by intimidating him into silence through an improper exercise of legislative

power, calling him to testify. Id. at 371. The Court ultimately ruled they could not

find the committee exceeded the bounds of the legislative power unless there is an

“usurpation” of the executive or judicial powers that is “obvious.” Id. at 378.

      In Imbler, the Court held that a prosecutor could not be held liable for those

against whom he brings charges but fails to convict. 424 U.S. 409, 423 (1976). The

Court went on to pronounce that the office of public prosecutor is such that it must

be administered with “courage and independence.” Id. If such litigation were allowed,

“[t]he apprehension of such consequences would tend towards great uneasiness and

toward weakening the fearless and impartial policy which should characterize the



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administration of this office.” Id. at 424. These principles are easily extended to the

present case.

        Here, President Trump is an elected official entitled to absolute immunity.

President Trump was engaged in the execution of his duties as President, which are

constitutionally committed to his sole discretion. In this case, those duties involved

using his bully pulpit to ensure the faithful execution of the laws of the United States

and lobbying for proper legislative action to the same ends. The office of President,

even more than the office of prosecutor, requires the ability to act boldly and

fearlessly to carry out the duties of the office as the person vested with the entire

authority of the Executive Branch.

        A holding that Plaintiffs can bring a suit of this subjective nature would

encourage political opponents to take their disputes out of the public square and halls

of Congress and into courtrooms to punish a president for his disfavored speech. The

President’s absolute immunity forecloses the jurisdiction of this Court to do so.

   b.      The political question doctrine bars Plaintiffs’ claims against President
           Trump.

        Similar to absolute immunity is the practical consideration expressed in the

political question doctrine. “The political question doctrine excludes from judicial

review those controversies which revolve around policy choices and value

determinations constitutionally committed for resolution to the halls of Congress or

the confines of the Executive Branch.” Japan Whaling Ass’n. v. Am. Cetacean Soc.,

478 U.S. 221, 230 (1986). There are several instances when the doctrine makes a case

non-justiciable, including when there is a “textually demonstrable constitutional


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commitment of the issue to a coordinate political department” and when it is

impossible to decide an issue without making “an initial policy determination of a

kind clearly for nonjudicial discretion” or “without expressing lack of the respect due

coordinate branches of government.” Bancoult v. McNamara, 445 F.3d 427, 432 (D.C.

Cir. 2006) (citing Baker v. Carr, 369 U.S. 186, 217 (1962)).

      Here, Plaintiffs seek declarations and damages against President Trump based

on actions taken while he was acting in his official capacity as President of the United

States. See Compl. at ¶ 70. Adjudication of such a claim based upon the words or

actions of the President would improperly regulate the executive department.

Moreover, adjudication of Plaintiffs’ claims would require the Court to make a value

determination about what is or is not proper for the President to say during a political

speech when advocating for Congressional action. As previously discussed, such value

determinations about the content of speech are not appropriate for the judiciary. The

courts are not the branch constitutionally tasked with making “policy choices and

value determinations,” and they cannot serve to second-guess a president’s

judgments. Japan Whaling, 478 U.S. at 230.

      The impeachment managers chosen by the House of Representatives had a full

and fair opportunity to make their case at impeachment. They failed; President

Trump was acquitted by the United States Senate sitting as an Impeachment Court.

Its verdict was the final word on this matter. To hold otherwise would displace the

Senate as the final arbiter on impeachment, showing a disrespect for a co-equal

branch. As such, this Court should decline to adjudicate Plaintiffs' claims.



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   c.      Res judicata and collateral estoppel foreclose Plaintiffs ’claims

        Under the doctrine of res judicata, “a subsequent lawsuit will be barred if there

has been prior litigation (1) involving the same claims or cause of action, (2) between

the same parties or their privies, and (3) there has been a final, valid judgment on

the merits, (4) by a court of competent jurisdiction[t2].” Smalls v. United States, 471

F.3d 186, 192 (D.C. Cir. 2006) (citing Blonder-Tongue Lab’ys, Inc. v. Univ. of Ill.

Found., 402 U.S. 313, 323–24 (1971)).

        Under D.C. law, which forms the basis for most of the Plaintiffs ’claims, a court

will consider “(1) whether the claim was adjudicated finally in the first action;

(2) whether the present claim is the same as the claim which was raised or which

might have been raised in the prior proceeding; and (3) whether the party against

whom the plea is asserted was a party or in privity with a party in the prior case” to

determine whether a claim is barred by res judicata. Herrion v. Children’s Hosp. Nat’l

Med. Ctr., 448 F. App’x 71, 72 (D.C. Cir. 2011) (quoting Calomiris v. Calomiris, 3 A.3d

1186, 1190 (D.C. 2010)).

        While these tests are formulated slightly differently, the core principles are

that res judicata requires that claims be barred if they arise from the same common

nucleus of facts, if the prior case resulted in a final judgment on the merits, and if the

parties to the former litigation are the same or are privies of those parties. “[T]he

parties to a suit and their privies are bound by a final judgment and may not relitigate

any ground for relief which they already have had an opportunity to litigate even if

they chose not to exploit that opportunity whether the initial judgment was erroneous

or not.” Lewis v. Drug Enf’t Admin., 777 F. Supp. 2d 151, 161 (D.D.C. 2011), aff’d,
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2012 WL 1155698 (D.C. Cir. 2012). See also Allen v. McCurry, 449 U.S. 90, 94 (1980)

(“Under res judicata, a final judgment on the merits of an action precludes the parties

or their privies from relitigating issues that were or could have been raised in that

action.”). A plaintiff alleging no new facts but simply a new legal theory “is precisely

what is barred by res judicata.” McIntyre v. Fulwood, 892 F. Supp. 2d 209, 216

(D.D.C. 2012) (quoting Apotex, Inc. v. FDA, 393 F.3d 210, 217–18 (D.C. Cir. 2004)).

      1.     All of Plaintiffs’ claims arise from the same common nucleus of facts.

      Plaintiffs’ claims arise out of the same operative facts as the claims addressed

in the Senate’s impeachment trial. That trial did not result in a conviction—despite

overwhelming political animus towards the President, the Senate acquitted the

President of the incitement to insurrection charge. The articles of impeachment

alleged that President Trump “willfully made statements that, in context,

encouraged—and foreseeably resulted in—lawless action at the Capitol[.]” 167 Cong.

Rec. H165 (daily ed. Jan. 13, 2021). These are the same charges that Plaintiffs bring

now, alleging violations of laws that have substantially the same language. See

Compl., ¶ 153 (alleging that President Trump was involved in a conspiracy to create

a riot that would unlawfully injure members of Congress and Capitol Police Officers

and prevent them from discharging their duties); ¶ 162 (alleging President Trump

failed to prevent the riot because he had power to do so by not speaking out about

election fraud and not pursuing lawsuits challenging election results); ¶ 181 (alleging

that President Trump “incited or aided and abetted others to engage in a riot”).

      Res judicata applies not only to the actual claims brought, but also to any

claims that could have been brought stemming from the same facts. See Allen, 449
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U.S. at 94. The House of Representatives is tasked with “the sole power of

impeachment.” U.S. Const. art. I, § 2, cl. 5. It had the opportunity to craft any articles

of impeachment and it chose to bring only one article for incitement to insurrection,

alleging that the President’s First Amendment protected speech on January 6, 2021,

rose to the level of the types of “high crimes and misdemeanors” that warrant removal

from office.

       The Senate has “the sole Power to try all Impeachments” but what level of

proof is required to convict is determined by each individual Senator. U.S. Const. art.

I, § 3, cl. 6. Even under this lower standard of proof, and despite only needing a two-

thirds vote to convict—a potentially lower bar than the President faces in this case—

it failed to do so. The failure to bring additional claims does not permit parties or

their privies to bring later litigation stemming from the same events; otherwise no

judgment would ever truly be final.

       2.      Plaintiffs are in privity with Congress.

       The Capitol Police is an agency under the legislative branch whose interests

were adequately represented during the Senate’s impeachment trial, which was

predicated on the same nucleus of alleged facts that Plaintiffs bring here. A “privy”

is one “so identified in interest with a party to former litigation that he represents

precisely the same legal right in respect to the subject matter involved.” Jefferson

Sch. of Soc. Sci. v. Subversive Activities Control Bd., 331 F.2d 76, 83 (D.C. Cir. 1963).

“The government, its officers, and its agencies are regarded as being in privity for

claim-preclusive purposes.” McIntyre, 892 F. Supp. 2d at 215 (quoting Wilson v.

Fullwood, 772 F. Supp. 2d 246, 263 (D.D.C. 2011)). See also Sunshine Anthracite Coal
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Co. v. Adkins, 310 U.S. 381, 402–03 (1940) (“There is privity between officers of the

same government so that a judgment in a suit between a party and a representative

of the United States is res judicata in relitigation of the same issue between that

party and another officer of the government.”).

      In essence, the House of Representatives ’impeachment managers, serving in

roles similar to prosecutors or plaintiffs, represented the interests of all the parties

involved in the events that supported the article of impeachment brought against the

President. Plaintiffs’ claims are predicated on injuries they sustained from the

actions of individuals at the Capitol, which the House blamed on President Trump.

The Senate, tasked with hearing the evidence and passing a final judgment on the

matter, did not find that President Trump’s First Amendment protected speech rose

to the level of incitement. The Senate, sitting as an Impeachment Court under an

oath to the Constitution, issued a final judgment acquitting the President of the

incitement to insurrection charge, thus precluding any parties or their privies who

could have brought claims from relitigating the matter. Indeed, Plaintiffs could not

have charged the President in a civil lawsuit for the claims they now attempt to bring

because of absolute presidential immunity from claims for damages resulting from

official acts. See Vance, 140 S. Ct. at 2426.

      The House was the only party that could bring the claim and the Senate was

the only court which could hear the claims. As such, the House was the relevant party

bringing the suit and it adequately represented the interests of the Capitol Police, a

legislative agency tasked with protecting Congress so that its members may carry out



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their legislative duties. This relationship makes the Capitol Police privies of the

House and bars their attempts to bring these particular claims against the President.

       3.    The Senate’s Impeachment trial is a final judgment on the merits issued
             by a court of competent jurisdiction.

       Res judicata requires that a court of competent jurisdiction issue a final

judgment on the merits for that decision to preclude future lawsuits stemming from

the same facts. The Constitution, in Article I, § 3, cl. 6, specifically designates the

Senate to sit as an Impeachment Court, which means that it qualifies as a court of

competent jurisdiction, tasked with examining the articles presented by the House in

the manner of a judge. See Nixon v. United States, 506 U.S. 224, 229–30 (1993)

(analyzing the definition of “try” as used in the Constitution to reach the conclusion

that the Framers did not intend to impose additional limitations on impeachment

trial procedure beyond requiring that “Members must be under oath, a two-thirds

vote is required to convict, and the Chief Justice presides when the President is

tried”).

       Once the Senate has decided a case as an Impeachment Court, it is necessary

to treat that decision with finality. See Kevin Foley, Availability of Tolling in A

Presidential Prosecution, 168 U. PA. L. REV. 1789, 1799–800 (2020) (describing how

the impeachment process is better suited for prosecuting the President for numerous

factors among which is the finality of the lack of an appeal) (citing A Sitting

President’s Amenability to Indictment and Criminal Prosecution, 24 Op. O.L.C. 222,

258-60 (2000)); Nixon, 506 U.S. at 236 (discussing the necessity of the finality of the

Senate’s judgment after an impeachment because “opening the door of judicial review


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to the procedures used by the Senate in trying impeachments would ‘expose the

political life of the country to months, or perhaps years, of chaos.’”) (citing Nixon v.

United States, 938 F.2d 239, 246 (1991)).

      This is especially true because the Senate is the sole court that can pass

judgment on impeachment. See U.S. Const. art. I, § 2, cl. 6. “The commonsense

meaning of the word ‘sole ’is that the Senate alone shall have authority to determine

whether an individual should be acquitted or convicted.” Nixon, 506 U.S. at 230–31.

If the courts were permitted to review the processes and decisions of the Senate, this

would compromise the Senate’s ability to ‘“function[] . . . independently and without

assistance or interference.’” Id. (citing Webster’s Third New International Dictionary

2168 (1971)). The one exception to the finality of judgment of the Senate respects an

individual impeached and convicted. “[T]he Framers recognized that most likely

there would be two sets of proceedings for individuals who commit impeachable

offenses—the impeachment trial and a separate criminal trial.” Nixon, 506 U.S. at

234. “[T]he Constitution explicitly provides for two separate proceedings.” Id. (citing

U.S. Const. art. I, § 3, cl. 7). The Court explained that the separation of the two

forums was a deliberate move by the Framers to “avoid raising the specter of bias and

to ensure independent judgments.” Nixon, 506 U.S. at 234 (citing The Federalist No.

65, p. 442 (J. Cooke ed. 1961)).

      In this case, however, the Senate acquitted President Trump. That acquittal

by the Senate is a final judgment on the merits and precludes this court from

exercising jurisdiction.



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       4.     Statutory construction of the Impeachment Judgment Clause shows
              that only an individual convicted is subject to follow-on litigation, and
              only for criminal offenses.

       The Impeachment Judgment Clause, U.S. Const. art. I, § 3, cl. 7, states that

judgment “shall not extend further than to removal from Office, and disqualification

to hold and enjoy any Office of honor, Trust or Profit under the United States: but the

Party convicted shall nevertheless be liable and subject to Indictment, Trial,

Judgment and Punishment, according to Law.” Two aspects of this clause stand out.

       First, the only provision for follow-on liability is for a party convicted. The

Framers could have written the party “tried” or the party “impeached,” but the

ultimate wording was limited to the party convicted. This alone should make clear

that an individual impeached but not convicted shall not be subject to follow-on

litigation.

       Second, the clustering of post-conviction liability for “Indictment, Trial,

Judgment and Punishment, according to Law” leads with “Indictment,” which

implies that an individual convicted is only potentially liable for follow on criminal

charges brought by the government rather than a civil suit on the same issues. The

Framers were familiar with the concept of res judicata and collateral estoppel. See

Crist v. Bretz, 437 U.S. 28, 40–41 (1978) (describing that “the constitutional

guarantee against double jeopardy was restricted to cases in which there had been a

complete trial—culminating in acquittal or conviction . . . . This was consonant with

the prevailing English practice regarding pleas in bar”).

       Recognition of the need to prevent repetitive suits is definitively expressed in

the Constitution, which prohibits anyone from being “subject for the same offense to
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be twice put in jeopardy of life or limb.” U.S. Const. amend. V. The Constitution then

explicitly carves out an exception for this commonly understood prohibition against

being subject to judgment more than once for the same claim only in cases where an

individual is impeached and convicted. But an individual will not be subject to

judgment in all cases—the Constitution again limits the liability to indictment, trial,

judgment, and punishment.

        Indictments are only issued for criminal offenses, not for civil lawsuits. The

process of the impeachment trial is deemed a final judgment on the merits, but it will

not prevent the individual convicted of a high crime or misdemeanor from facing

judgment in a court of law for the crime in question. This makes sense because the

Senate cannot bring a criminal charge against an individual impeached—only the

executive branch can bring litigation to enforce the laws of the United States.

Through being granted the power of impeachment, Congress was given an important

check on the Executive and Judicial Branches, who could not have been trusted to

prosecute and try themselves. Once removed from office, those individuals could then

be properly tried in the courts of law. President Trump was not convicted on the

impeachment charge brought against him. Because he is not a party convicted, he is

not liable to be subject to further litigation on a matter already decided.

   d.      Well-established First Amendment jurisprudence bars Plaintiffs’ claims
           based on President Trump’s protected political speech.

        An individual’s rights to speak, assemble, and petition the government for

redress of grievances are afforded the strongest presumption against infringement.

See Members of City Council of City of Los Angeles v. Taxpayers for Vincent, 466 U.S.

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789, 816 (1984) (“[P]olitical speech is entitled to the fullest possible measure of

constitutional protection.”). “[S]peech on ‘matters of public concern’ . . . is ‘at the

heart of the First Amendment’s protection.’” Snyder v. Phelps, 562 U.S. 443, 451–52

(2011) (quoting Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749,

758–59 (1985)).

      The First Amendment reflects “a profound national commitment to the

principle that debate on public issues should be uninhibited, robust, and wide-open.”

Snyder, 562 U.S. at 452. That is because “speech concerning public affairs is more

than self-expression; it is the essence of self-government.” Id. Accordingly, “speech on

public issues occupies the highest rung of the hierarchy of First Amendment values

and is entitled to special protection.” Id. “The primary question is whether the

message conveyed . . . was of such a nature as to come within the ambit of the First

Amendment Protection, or whether it must be placed in the categories of speech

which the Supreme Court has held are not protected.” Allen v. District of Columbia,

187 A.2d 888, 889 (D.C. 1963) (citing Chaplinsky v. New Hampshire, 315 U.S. 568

(1942)). For Plaintiffs’ claims alleging conspiracy and aiding and abetting incitement

to riot, the “[defendant’s] conduct, and not the crowd’s reaction to it, must be the

starting point, for ‘the measure of the speaker is not the conduct of his audience.’”

Allen, 187 A.2d at 889 (quoting Rockwell v. Morris, 12 A.D.2d 272, 279 (N.Y. Sup. Ct.

1961)).

      Therefore, the “[a]udience reaction, and the immediacy of the disorder, become

significant elements of proof only after the speaker ‘passes the bounds of argument



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or persuasion and undertakes incitement to riot.’” Allen, 187 A.2d at 889 (citing

Feiner v. New York, 340 U.S. 315, 321 (1951)). Here, President Trump’s speech did

not surpass any reasonable standard for the bounds of argument and persuasion

commonly used by public officials and candidates for public office.

      1. President Trump’s speech was petitioning activity undertaken in his official
         capacity.

      The speech President Trump gave on January 6, 2021, regarding the 2020

Presidential Election is certainly on matters of public concern. As President, it is his

duty to ensure that the laws are faithfully executed and he had legitimate concerns

about the integrity of the November election results. Allegations of election

interference were more than welcome by politicians and the media in 2000, 2004, and

2016 when they were being voiced by Maxine Waters, Jerrold Nadler, Barbara Lee,

Stacy Abrams, and Hillary Clinton.

      In 2020, President Trump was decried for voicing concerns with the massive

changes to state election procedures that brought uncertainty about their security.

State legislatures are charged with setting the election process in every state, but the

President has every right to question whether procedures were being followed and

were secure. Indeed, dialogue between the political branches of government and the

several states on such issues is at the core of federalism and the checks and balances

that are the heart and soul of our Constitution's framework for more than two

centuries. Questioning the propriety of the election was part of the President’s duty

to uphold and defend the Constitution. At the very least, his discussion of the matter

while attempting to petition the government to redress his grievance was a matter of


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public concern cloaked with the highest presumption of protection. It simply does not

meet the standards described by the Supreme Court for when speech may be

restricted without violating the First Amendment.

      2.     President Trump’s speech does not meet the standard for incitement
             under Brandenburg v. Ohio.

      At numerous points throughout the Complaint, Plaintiffs allege President

Trump incited and provoked individuals to riot at the Capitol through weeks of

voicing his concerns over the legitimacy of the elections (Compl., ¶¶ 2, 5, 53), filing

lawsuits challenging those election results (Compl., ¶¶ 62, 64), and planning a rally

to petition Congress to delay certifying the election (Compl., ¶¶ 81–83). From these

allegations, they ascribe liability for the subsequent actions of individuals at the

Capitol. President Trump’s speech clearly expressed his desire for those who believed

as he did to “peacefully and patriotically make [their voices] heard” at the Capitol

where the election certification was going to take place. 6 At no point during the

speech was there any advocacy for violence or unlawful activity.

      Retrospectively assuming a speaker’s intent based upon the actions of others

is not a constitutionally acceptable method of pleading an unlawful incitement. See

Brandenburg v. Ohio, 395 U.S. 444, 449 (1969). And one cannot have negligent

liability for incitement—intent on the part of the speaker is a required element of a

plaintiff’s claim. A holding that an individual can be liable for incitement based on


      6
        Brian Naylor, Read Trump’s Jan. 6 Speech, A Key Part of Impeachment
Trial, CNN (February 10, 2021), https://www.npr.org/2021/02/10/966396848/read-
trumps-jan-6-speech-a-key-part-of-impeachment-trial.



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how others interpreted his speech would blur “the distinction between advocacy and

incitement.” Morse v. Frederick, 551 U.S. 393, 442 (2007) (Stevens, J., dissenting).

The Supreme Court rejected such an interpretation because this “would ‘pu[t] the

speaker in these circumstances wholly at the mercy of the varied understanding of

his hearers and consequently of whatever inference may be drawn as to his intent

and meaning.’” Id. at 442–43 (quoting Thomas v. Collins, 323 U.S. 516, 535 (1945)).

      The right to protest was continually referred to in the media this past year as

a central part of our functioning Republic—even when the protests that were being

encouraged in cities throughout the country were clearly turning violent and putting

Americans ’lives and property in jeopardy. A finding that President Trump’s speech

is not protected by the First Amendment would open the floodgates to liability for any

individual if another person committed unlawful conduct and claimed to be under the

influence of that individual’s political speech, cluttering the dockets of federal courts

and incentivizing using courts as a weapon against political opponents.

      3.     Incitement is limited to true threats and a holding to the contrary would
             subject anti-riot laws to facial challenges.

      As the Supreme Court has recognized, the “mere tendency of speech to

encourage unlawful acts is not a sufficient reason for banning it.” Ashcroft v. Free

Speech Coal., 535 U.S. 234, 253 (2002). After all, “mere encouragement is

quintessential protected advocacy” under the First Amendment. United States v.

Miselis, 972 F.3d 518, 536 (4th Cir. 2020). Indeed, the Fourth Circuit has held that

an Anti-Riot Act that “proscribes speech tending to ‘encourage ’or ‘promote ’a riot, as

well as speech ‘urging ’others to riot or ‘involving ’mere advocacy of violence” was


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overbroad under Brandenburg and swept up too much protected speech to be

constitutional. Miselis, 972 F.3d at 540.

      If the courts can conclude that urging others to riot or directly advocating for

violence cannot incur liability under the First Amendment, the allegations that

Plaintiffs have made here are surely insufficient. Otherwise, D.C.’s Anti-Riot statute

would be subject to a facial challenge as sweeping in too much protected speech under

the Supreme Court’s analysis in Brandenburg, 395 U.S. at 447, which permits

advocacy of the use of force except in limited circumstances where the speech both is

intended to incite imminent lawless action and has a high likelihood of inciting

imminent lawless action.

      4.     Plaintiffs’ reading of § 1985 and argument for liability would result in
             such expansive liability to subject the statute to a facial challenge.

      If Plaintiffs are allowed to bring this claim under § 1985, an unlawful

conspiracy could be construed any time there is a standoff between the political

branches that involves emotionally charged speech. This would make the statute

subject to a facial challenge for being overbroad or void for vagueness. The

overbreadth doctrine allows facial challenges to unbounded statutes to prevent the

chilling of First Amendment speech. See Secretary of State of Md. v. Joseph H.

Munson Co., Inc., 467 U.S. 947, 958 (1984). The void for vagueness doctrine ensures

citizens are on notice of what a statute proscribes and guards against arbitrary or

discriminatory enforcement. See Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018).

      Should Plaintiffs’ construction of § 1985 be adopted, it would lead to a

boundless statute that would essentially hold politicians vicariously liable for the


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actions of their supporters, substantially chilling critically important political speech.

Moreover, the broad and vague prescriptions of the statute would encourage selective

enforcement, inevitably based upon the political affiliations of the enforcer. Simply

put, Plaintiffs’ proposed interpretation of the statute provides no way to draw clear

lines, requiring that they be struck down as facially invalid. But this historic statute

need not be endangered.

      A conspiracy under § 1985(1) should not be read so broad as to apply to all

tortious interferences with the rights of others. See Griffin v. Breckenridge, 403 U.S.

88, 101 (1971) (discussing the legislative history of the statute, specifically as it

applied to § 1985(3)). Indeed, a plain reading of the word “conspiracy” in the statute

requires that the Court limit its application to specific agreements to interfere with

the acceptance or performance of an officers’ duties through an unlawful act. See

McFadden v. U.S., 576 U.S. 186, 197 (2015) (requiring that avoidance be used when

courts must choose between competing plausible interpretations where one would

lead to an unconstitutional result). Ergo, an agreement to engage in lawful political

speech and assembly with others is no conspiracy at all; there must be an actual

agreement to perform an overt act that extends beyond protected political speech.

And as with any conspiracy allegation, proof of the actual agreement is key to

surviving a motion to dismiss.

      Plaintiffs here do not meet that required pleading standard. As President

Trump’s speech is protected under the First Amendment, and all of he claims against




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him stem directly and solely from his political speech, this Court must dismiss the

Plaintiffs’ Complaint in its entirety.

   II.      This Court Lacks Personal Jurisdiction Over the Trump Campaign.

         To establish general personal jurisdiction over a corporation, the corporation

must either be incorporated in that state or maintain its principal place of business

(e.g., be “essentially at home”) in that state. Daimler AG v. Bauman, 571 U.S. 117,

127 (2014).

         Other plaintiffs have brought Donald J. Trump for President Inc. (“the

Campaign”) into their lawsuits against President Trump in this Court before. This

Court conclusively held that it lacked jurisdiction over the Campaign in a lawsuit

based on election-related activities that incidentally required the corporation’s

presence in the district. “A corporation with a state of incorporation and principal

place of business outside of the District cannot be regarded as ‘at home ’in the District

simply because its headquarters are nearby in Virginia and it conducts business

activity in the District.” Cockrum v. Donald J. Trump for President, Inc., 319 F. Supp.

3d 158, 174 (D.D.C. 2018) (citing Duarte v. Nolan, 190 F. Supp. 3d 8, 15 (D.D.C.

2016)). “Plaintiffs seek to establish jurisdiction by citing events that happened

outside the District, events that happened well before defendants allegedly joined the

conspiracies, and events after the conspiracies achieved their objective . . . [none of

which] focus on defendants ’contacts with the forum related to the specific claims

raised in plaintiffs ’complaint.” Cockrum v. Donald J. Trump for President, Inc., 319

F. Supp. 3d 158, 175 (D.D.C. 2018).



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      “For this Court to exercise specific personal jurisdiction over defendants their

‘suit-related   conduct   must     create   a    substantial    connection    with    ’the

District. . . . Therefore, for purposes of asserting jurisdiction over [the Campaign], the

Court must determine from the allegations in the complaint what suit-related

conduct by defendants, in furtherance of the conspiracies, took place in D.C.”

Cockrum v. Donald J. Trump for President, Inc., 319 F. Supp. 3d 158, 175 (D.D.C.

2018) (quoting Walden v. Fiore, 571 U.S. 277 (2014)).

      Here, Plaintiffs fail to allege that any of the Campaign’s speech or conduct in

furtherance of the conspiracy took place in D.C. Plaintiffs’ only allegations about the

Campaign that could create a point of contact with D.C. are that it “filed and caused

to be filed scores of baseless lawsuits in various state and federal courts”, and

“planned and organized the January 6 rally.” Compl. ¶¶ 61, 79. Neither of these

allegations, however, are alleged to be related to the ill-defined conspiracy to either

take back the country or “halt[] the count of the electoral votes.” Id. at. ¶ 112, 129.

Filing a lawsuit cannot credibly be alleged to be an action in furtherance of a

conspiracy, as even a baseless lawsuit such as Plaintiffs’ has the right to be filed.

      Plaintiffs also cannot establish specific jurisdiction over the Campaign.

Plaintiffs have failed to allege any specific actions taken place by the Campaign or its

agents within the District of Columbia that would subject the Campaign to the

specific jurisdiction of this Court. Plaintiffs make conclusory allegations that the

Campaign: (1) spread messages publicly, (2) filed lawsuits regarding the election, (3)

and helped organize and fund the January 6 speech at the Ellipse. Compl., ¶¶ 52, 62,



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65, 79, 106. Therefore, only the allegation about organizing and funding the speech

potentially remains; however, Plaintiffs have failed to allege that any action involved

in this alleged fundraising and planning took place from within the District. Further,

alleging that the Campaign organized a rally does not allege that there was an

agreement between the Campaign and other defendants for what conduct would

happen at and after that rally. Given this lack of allegation that the Campaign has a

substantial connection with D.C. related to the conspiracy, the Court does not have

jurisdiction over it; the claims against it must be dismissed.

          Plaintiffs provide no factual basis for their assertion that the Campaign helped

organize or fund the speech at the Ellipse. Moreover, the First Amendment rights to

the freedom of speech and the freedom to petition for redress of grievances would

preclude this claim even if it were true (it is not). None of these allegations are

remotely actionable, wrongful, or illegal as it is removed in time from the conduct at

the Capitol by a span of hours.

          Further, any general allegations that the other or third parties were agents of

the Campaign are insufficient and conclusory with no factual support to survive a

motion to dismiss. The Campaign’s staff is a matter of public record. The Campaign

was not involved in the January 6, 2021, speech at the Ellipse or the events afterward.

          Accordingly, this Court should dismiss Plaintiffs’ Amended Complaint against

both the President and the Campaign for lack of personal jurisdiction.

   III.      Plaintiffs Have Failed to State a Claim.

          To state a claim upon which relief may be granted, Plaintiffs are charged with

pleading their Complaint so that it plausibly lays out a legally recognized case against
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Defendants. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 549 (2007). While they need

not include “detailed factual allegations,” they must do more than state an unadorned

“the-defendant-unlawfully-harmed-me” accusation. Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citing Twombly, 550 U.S. at 555).

      A pleading that offers “labels and conclusions” or “a formulaic recitation of the

elements of a cause of action will not do.” Iqbal, 556 U.S. at 678; Twombly, 550 U.S.

at 555. Nor does a complaint suffice if it tenders “naked assertion[s]” devoid of

“further factual enhancement.” Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 557.

Moreover, Plaintiffs’ conspiracy allegations must be pled with particularity. See

McCord v. Bailey, 636 F.2d 606 (D.C. Cir. 1980). Accord Gometz v. Culwell, 850 F.2d

461, 464 (7th Cir. 1988).

   a. Plaintiffs do not allege a violation of 42 U.S.C. § 1985(1).

      Plaintiffs’ claims against President Trump and the Campaign under § 1985 are

contingent upon a finding that they conspired to interfere with the duties of a federal

officer as described in § 1985(1). None of the individuals Plaintiffs allege in ¶ 153

(Members of Congress, Congressional staff, Capitol Police Officers, President Biden

and Vice President Harris) were prevented by force, intimidation, or threats from

discharging their duties or accepting or holding an office nor are they federal officers

for purposes of § 1985(1).

      An officer of the United States is one who “holds his place by virtue of an

appointment by the president, or of one of the courts of justice or heads of

departments authorized by law to make such an appointment.” United States v.

Mouat, 124 U.S. 303, 307 (1888). Additionally, as the Supreme Court explained in
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2010, “[t]he people do not vote for the ‘Officers of the United States.’ U.S. Const.

art. II, § 2, cl. 2. They instead look to the President to guide the ‘assistants or

deputies . . . subject to his superintendence. ’”Free Enter. Fund v. Pub. Co.

Accounting Oversight Bd., 561 U.S. 477, 498 (2010) (quoting, The Federalist No. 72,

p. 487 (J. Cooke ed. 1961) (A. Hamilton)). Furthermore, the Appointments Clause

makes it clear that the President appoints the Officers of the United States. See U.S.

Const. art. II, § 2, cl. 2.

        The Constitution makes clear that members of Congress are not office holders

“under . . . the United States.” 42 U.S.C. § 1985(1). The Ineligibility Clause

specifically states that “no person holding any Office under the United States, shall

be a member of either House during his Continuance in Office.” U.S. Const. art. I, § 6,

cl. 2. Ergo, a member of Congress is not in an office under the United States,

otherwise the Constitution would state that they could not hold more than one such

office. In defining an office of the United States, the United States Court of Claims

defined it as a “public station or employment established or authorized by Congress

and conferred by appointment of the Government.” Dalton v. U.S., 71 Ct. Cl. 421, 425

(1931). Neither do members of Congress hold a position of trust or a place of

confidence under the United States. The Constitution specifically delineates between

senators, representatives, and those holding an office of trust or profit under the

United States when it prohibits any of the above from serving as electors. U.S. Const.

art. II, § 1, cl. 2.




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      In common law, an office of trust or profit referred exclusively to those in the

employ in the executive, judiciary, or the church. See Benjamin Cassady, “You’ve Got

Your Crook, I’ve Got Mine”: Why the Disqualification Clause Doesn’t (Always)

Disqualify, 32 QUINNIPIAC L. REV. 209, 279 (2014). English statutes applied the term

to offices conferred by the Crown, not by Parliament. Id. (citing Test Act of 1673, 25

Car. II, c. 2 (U.K.)). There are few examples of those who hold a place of confidence

under the United States. A district court has applied that term to state court judges

since they decide federal constitutional issues and are bound by federal law. See

Lewis v. News-Press & Gazette, 782 F. Supp. 1338, 1342 (W.D. Mo. 1992). Other

authority suggests all of the categories listed in Section 1 are limited to those who

carry out and apply the law. See Stern v. U.S. Gypsum, Inc., 547 F.2d 1329, 1337 (7th

Cir. 1977) (explaining the statutory history of § 1985(1) and concluding that the

purpose of the legislation was to protect the “federal interest in the carrying out of

federal functions”).

      Given the previously discussed limitation that officers of the United States are

those who are appointed by the President, the fact that the Vice President is elected

with the President prevents a finding that either the President or Vice President are

officers. One thing is clear: the Congress that adopted the statute could very well

have clearly made it applicable to the legislative branch and to the President and

Vice President. But it did not. Indeed, if the statute did apply as broadly as the

Plaintiffs allege, any time Congress and the President disagreed politically it could

incur liability on either party in the courts of law if their bombastic rhetoric or



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conduct could be perceived as a threat to the other. Plaintiffs do not have a cause of

action under § 1985(3) because neither the members of Congress nor Vice President

Pence qualify as individuals with whom interference of their duties gives rise to a

cause of action under § 1985(1). As such, count one (and, therefore, count two) must

be dismissed.

   b.      Plaintiffs’ claim under 42 U.S.C. § 1986 fails as it is contingent upon stating
           a claim under § 1985.

        Because Plaintiffs have failed to state a claim under § 1985, their § 1986 claim

must necessarily fail as well. Furthermore, even if Plaintiffs had stated a claim under

§ 1985, this § 1986 claim would still fail. § 1986 requires that an individual with

power to prevent or aid the alleged wrongdoings neglect or refuse to do so in order to

incur liability. It is documented that President Trump took efforts to ensure that the

Capitol was protected against attack, as evidenced by the HSGA report discussed

above investigating the security failures on January 6.

   c.      Plaintiffs ’State law claims fail because their lawsuit is based on federal
           question jurisdiction, and their federal claims are insufficient.

        Plaintiffs have brought three claims against President Trump based on alleged

District of Columbia law violations in addition to claims of negligence. Each of these

claims fails because Plaintiffs ’arguments are precluded by President Trump’s

absolute presidential immunity, the principles of res judicata, and President Trump’s

First Amendment rights to freedom of speech, petition for redress of grievances, and

freedom of association. Even if the claims for assault, battery, negligence, and bias-

related crimes were not precluded, Plaintiffs have failed to plead their prima facie

case as required.

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      1. Bias-Related Crimes Act

      Plaintiffs allege President Trump is liable under the D.C. Bias-Related Crimes

Act because the riots at the Capitol were politically motivated. See Compl. ¶¶ 168–

72. Plaintiffs claim the Defendants’ intended victims were those perceived to be, or

supporting, Democrats. Id. at ¶ 174. The Complaint, however, shows there was no

intent to harm Democrats—President Trump’s speech encouraged the individuals at

the rally to make their voices heard to Congress to express that they did not want the

2020 election certified because the voting procedures and counts were questionable.

Id. at ¶ 108. Whether Plaintiffs disagree with such petitioning activity or not,

individuals have a right to express those views. For them to attempt to assign liability

for the violent actions of a minority of the individuals who heard this political speech

misinterprets decades of First Amendment doctrine that does not allow liability for

how others interpret your speech.

      The Supreme Court conclusively rejected such a theory of liability because it

“would ‘pu[t] the speaker in these circumstances wholly at the mercy of the varied

understanding of his hearers and consequently of whatever inference may be drawn

as to his intent and meaning.’” Morse v. Frederick, 551 U.S. 393, 442–43 (2007)

(Stephens, J., dissenting) (quoting Thomas v. Collins, 323 U.S. 516, 535 (1945)).

      Plaintiffs claim President Trump and the Campaign are vicariously liable

under this D.C. statute because of the actions of the persons who actually infiltrated

and damaged the United States Capitol on January 6. They argue President Trump

and the Campaign are liable for three different violations, each of which fails for the



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reasons stated throughout this brief as well as because Plaintiffs have failed to prove

their theory either for aiding and abetting or existence of an agency relationship.

          A.    Plaintiffs fail to plead that President Trump was generally aware of
                his role in an illegal activity or that he provided the “substantial
                assistance” necessary for aiding and abetting liability.

      Under D.C. law, aiding and abetting has a similar standard to that of

conspiracy, but even though courts and litigants commonly blur the lines, each has a

unique standard. The D.C. Circuit has previously held that the “prime distinction”

between the standards is that a conspiracy is about an “agreement to participate in

a wrongful activity” while aiding and abetting is about “substantial assistance.”

Halberstam v. Welch, 705 F.2d 472, 478 (D.C. Cir. 1983). This distinction and others

are critical in determining liability when a specific charge is brought. “For

example . . . liability may be based on a more attenuated relation with the principal

violation in a conspiracy than in aiding and abetting.” Id. at 485.

      To state a claim for aiding and abetting, a plaintiff must show: “(1) the party

whom the defendant aids must perform a wrongful act that causes an injury; (2) the

defendant must be generally aware of his role as party of an overall illegal or tortious

activity at the time that he provides the assistance; (3) the defendant must knowingly

and substantially assist the principal violation.” Halberstam, 705 F.2d at 477 (citing

Investors Research Corp. v. SEC, 628 F.2d 168, 178 (D.C. Cir. 1980)).

      Plaintiffs allege President Trump aided and abetted the violent actors at the

Capitol through his protected First Amendment speech as well as through “providing

or soliciting funds, lodging, transportation, organization, equipment, or other goods

or services to help the rioters travel” to the Rally at the Ellipse. Compl., ¶¶ 181–82.
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Plaintiffs do allege that the violent rioters performed a wrongful act that caused

Plaintiffs ’injuries. Id. at ¶ 157. They do not, and cannot, however, plausibly allege

that President Trump was aware of his role in an illegal conspiracy at the time he

spoke using his public platform and organized the Ellipse rally. And they cannot

plausibly allege that President Trump provided substantial assistance to the

individuals who engaged in violence at the Capitol.

          B.     Plaintiffs fail to plead that other Defendants had an agency
                 relationship with President Trump.

      “An agency relationship requires the existence of three elements: (1) the

principal must manifest a desire for the agent to act on the principal’s behalf; (2) the

agent must consent to act on the principal’s behalf; and (3) the principal must have

the right to exercise control over the agent with respect to matters entrusted to the

agent.” Kaiser Grp. Int’l, Inc. v. World Bank, 420 F. App’x 2, 5 (D.C. Cir. 2011) (citing

Transamerica Leasing, Inc. v. La Republica de Venezuela, 200 F.3d 843, 849 (D.C.

Cir. 2000)). “An essential element of agency is the principal’s right to control the

agent’s actions.” Hollingsworth v. Perry, 570 U.S. 693, 713 (2013) (citing 1

Restatement (Third) of Agency § 1.01, cmt. f (Am. L. Inst. 2005)).

      The Restatement factors for agency liability do not apply to President Trump

or the Campaign under these charges. Neither President Trump nor representatives

of the Campaign were present during the alleged assaults and batteries, nor did they

condone or ratify the conduct. In fact, President Trump multiple times asked for peace

and calm (including after the riot, which Plaintiffs acknowledge in Compl. ¶ 137). Nor

were President Trump or the Campaign temporally linked to the assaults. President


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Trump specifically spoke to the individuals at the Ellipse, who did not arrive at the

Capitol for hours after the speech, after President Trump had admonished them to

be peaceful. This left plenty of time for the individuals to whom President Trump’s

speech was directed to cool off and consider their actions, even if his words had not

explicitly admonished them to be peaceful.

      Further, vicarious liability for assault or battery is usually claimed against

employers whose employees committed the assault or battery while acting within the

scope of their employment. See, e.g., Maniaci v. Georgetown Univ., 510 F. Supp. 2d

50, 64 (D.D.C. 2007) (finding Plaintiffs adequately plead a theory of direct liability

against employer University because University officials ratified employees ’conduct

by directing and controlling their actions and then doing nothing to stop the tortious

conduct). The individuals who attended the rally did not establish an agency

relationship with President Trump or with the Campaign and were therefore not

acting within the scope of an agency relationship.

          C.     Plaintiffs Fail to Plead Acts of Terrorism and Malicious Burning,
                 Destruction, or Injury of Another’s Property.

      In addition to being unable to prove aiding and abetting or an agency

relationship, Plaintiffs also completely fail to allege facts to support their allegation

for the existence of a conspiracy “to commit malicious destruction of property.”

Compl., ¶ 176. Indeed, there is no theory under which the Plaintiffs can impute

liability to President Trump or the Campaign for the acts of others subject to this

provision, as the only connection they allege is that President Trump’s protected

speech “sought to intimidate or coerce” Congress and the voting public with no


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support for where destruction of property was ever considered. Id. at 177. It seems

Plaintiffs are arguing that because property damage occurred, it must have been

planned. Even if Plaintiffs had not so drastically failed to plead this allegation, the

broad interpretation of the statute they seek would render it unconstitutionally

overbroad and vague as it would sweep up entirely legal conduct aimed at petitioning

Congressional action if destruction of property did result.

           D.    Rioting and Inciting to Riot

      For all of the reasons discussed throughout this brief, Plaintiffs’ allegation for

conspiracy to incite a riot and aiding and abetting a riot fail. It is improper to assign

liability based on how others perceive one’s speech. See Brandenburg v. Ohio, 395

U.S. 444, 449 (1969); Thomas v. Collins, 323 U.S. 516, 535 (1945). There also are the

issues of res judicata and collateral estoppel respecting the Senate Impeachment

Court’s finding of no fault for the President on the nearly identical charge of

incitement to insurrection 7 and the political question that challenging such a

judgment would inevitably raise. See Bancoult v. McNamara, 445 F.3d 427, 432 (D.C.

Cir. 2006).

      Indeed, the Senate’s judgment is further supported by the HSGA report and

Reuters report, both finding that President Trump was not aware of any plan to riot

and that there is scant evidence of any collaborative activity surrounding the January

6 riot. Plaintiffs attempt to assign liability because President Trump and the


      7   See Domenico Montanaro, Senate Acquits Trump in Impeachment Trial—
Again, NPR (Feb. 13, 2021), https://www.npr.org/sections/trump-impeachment-trial-
live-updates/2021/02/13/967098840/senate-acquits-trump-in-impeachment-trial-
again.
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Campaign “provid[ed] or solicit[ed] funds, lodging, transportation, organization,

equipment, or other goods or services to help the rioters travel to Washington, D.C.”

(see Compl. ¶ 182) is too attenuated, because this alleged “aid” was provided to all of

the peaceful individuals who attended the rally—the fact that some individuals who

ended up rioting may have benefited from this does not amount to the substantial

assistance that could impute liability.

      2.     Assault, Battery, and Negligence

      Plaintiffs attempt to allege that President Trump is liable for the tortious

actions of battery, assault, and negligence on theories of aiding and abetting and

agency. As discussed above, Plaintiffs have not met the standard for pleading

conspiracy. They also fail to plead a case for either aiding and abetting or vicarious

liability through agency.

      The negligence standard in D.C. is familiar and well-established: no defendant

is liable for negligence unless that defendant specifically owes the plaintiff some duty

of care as a matter of law. See Haynesworth v. D.H. Stevens Co., 645 A.2d 1095, 1098

(D.C. 1994) (citing Palsgraf v. Long Island R.R. Co., 248 N.Y. 339 (1928); Presley v.

Commercial Moving & Rigging, Inc., 25 A.3d 873, 888 (D.C. 2011). Once such a legal

duty is established, the plaintiff must also show a deviation from that duty, and a

causal relationship between that deviation and the harm suffered by the plaintiff.

See Youseff v. 3636 Corp., 777 A.2d 787, 792 (D.C. 2001). Here, Plaintiffs can plead

none of those elements, further dooming their negligence claims. Plaintiffs claim

President Trump and the Campaign are liable under this cause of action because they

broke criminal laws (they did not) solely through their speech and the actions of
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others based on that speech. Plaintiffs ’claim is woefully insufficient, even at the

pleading stage.

      The statements Plaintiffs allege are insufficient to show negligence. Speakers

at political rallies do not owe a duty of care to members of Congress or Capitol Police

Officers not at the rally. By bringing their negligence claims, Plaintiffs advocate for

another boundless rule with severe ramifications. Since the dawn of the Republic and

before, politicians have expressed their passions in political speeches. The important

First Amendment protections for those speeches have already been discussed in

detail. But claiming political speech can give rise to negligence liability is also

troubling.

      In essence, Plaintiffs argue that speakers should be vicariously liable for the

acts of the listeners. As a matter of law, political speakers do not owe a legally

enforceable duty of care to their adversaries or others who might find themselves in

the path of impassioned supporters. Like the infamous firework that harmed Ms.

Palsgraf almost a century ago, the harm is simply too remote and unforeseeable to

give rise to a duty of care. See, e.g., Palsgraf, 248 N.Y. at341, 354. 339. Whether

political speech is negligent is a question for voters, not courts.

      Plaintiffs cannot escape, even at the pleading stage, that the Trump

Defendants acted responsibly. As previously discussed, President Trump simply

called for peaceful and patriotic demonstrations. Should his statements be held

negligent, then district courts will be very busy weighing the legal reasonableness of




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statements from thousands of politicians. Aside from the obvious First Amendment

pitfalls, such a rule would put the judiciary in an untenable position.

                                   CONCLUSION

      For all of the reasons stated above, President Trump and Donald. J. Trump for

President, Inc. respectfully request that this Court dismiss Plaintiffs ’Complaint in

its entirely, with prejudice.

      Dated: November 12, 2021                       Respectfully submitted,


                                                     /s/ Jesse R. Binnall
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                           CERTIFICATE OF SERVICE

      I certify that on November 12, 2021, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.



Dated: November 12, 2021                            /s/ Jesse R. Binnall
                                                    Jesse R. Binnall
                                                    Attorney for Donald J. Trump
                                                    and Donald J. Trump for
                                                    President, Inc.




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